106 F.3d 410w
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee/Cross-Appellant,v.Angel MARTINEZ-ROMERO, Defendant-Appellant/Cross-Appellee.
    Nos. 95-50382, 95-50419.
    United States Court of Appeals, Ninth Circuit.
    Argued and Submitted Feb. 9, 1996.Submission withdrawn Feb. 13, 1996.Resubmitted Dec. 4, 1996.Decided Jan. 10, 1997.
    NOTE: THE COURT HAS WITHDRAWN THIS OPINION
    